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                                           July 14, 2023

 The Honorable Nina R. Morrison
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

               Re: USA v. Napolsky et al, Case No. 1:22-cr-00525-NRM-CLP

 Dear Judge Morrison:

         Our office represents Defendant Anton Napolsky in the above referenced matter.
 Pursuant to the Scheduling Order dated July 12, 2023, with the consent of all parties, we
 respectfully propose the following mutually agreed upon schedule for the Court’s approval:

        -   The Government shall serve and file its opposition to Defendants’ Motion to Dismiss
            [12] by August 14, 2023;

        -   Defendants shall serve and file their reply, if any, by September 11, 2023.1

        We thank the Court for consideration of this matter.

                                              Sincerely,

                                              /s/ Anna V. Brown
                                              Anna V. Brown, Esq.




        1
          Defendants may request any additional extension for filing their reply after service of
 the opposing papers.


                                BROWN LEGAL CONSULTING, LLC
